       Case 1:21-cr-00670-CJN Document 106-3 Filed 07/11/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
                                          :       Case No: 21-cr-670
              v.                          :
                                          :
STEPHEN K. BANNON,                        :
                                          :
                        Defendant.        :

                               PROPOSED VERDICT FORM


Count 1 (Contempt of Congress – Willful Failure to Appear for Testimony)

       As to Count 1, we unanimously find the Defendant:

               Guilty

               Not Guilty


Count 2 (Contempt of Congress – Willful Failure to Provide Records)

       As to Count 2, we unanimously find the Defendant:

               Guilty

               Not Guilty




Date                                              Foreperson




                                              1
